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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                   v.
                                                       CRIMINAL NO. 21-311
 STANLEY WOLOFF

                                    NOTICE OF HEARING

       TAKE NOTICE that defendant is scheduled for a Arraignment/Guilty Plea Hearing
on Tuesday, December 14, 2021 at 11:00 a.m. before the Honorable C. Darnell Jones II in
courtroom 15B in the United States District Court, United States Courthouse, 601 Market Street,
Philadelphia, Pennsylvania 19106.




                                                     ED
☐ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☒ Bail Status: The defendant is on bail. A Court Securi y Officer shall be assigned to this
                                          LL
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as direct d, the presiding judge may issue a bench warrant.
                              CE

☐ Interpreter: A               interprete will be required for the defendant.

For additional information, please contact the undersigned.
                          N
              CA




By:                                                  /s/ Leesa B. Ciamaichelo
                                                     Deputy to Judge C. Darnell Jones II
                                                     Phone: (267) 299-7759

Date: December 6, 2021

cc - via U.S. mail:                                           Defendant
cc - via email:                                               J. Aaron, Esquire
                                                              L. Dakessian, Esquire
                                                              L. Lappen, Assistant U.S. Attorney
                                                              U.S. Marshal
                                                              Probation Office
                                                              Pretrial Services
                                                              Interpreter Coordinator

crnotice (July 2021)
